               Case 3:17-cv-05964-TSZ Document 20 Filed 08/28/20 Page 1 of 2




1                                                           United States District Judge Thomas S. Zilly

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6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
7                                         AT TACOMA
8                                                         )
     RYAN RECKNAGLE,                                      ) CIVIL NO. 3:17-cv-05964-TSZ
9
                                                          )
10                          Plaintiff,                    ) ORDER FOR ATTORNEY'S FEES
                                                          ) PURSUANT TO 42 U.S.C. § 406(b)
11   vs.                                                  )
                                                          )
12   COMMISSIONER OF SOCIAL SECURITY,                     )
                                                          )
13                            Defendant.                  )
14

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            Plaintiff’s unopposed Motion for Attorney Fees Pursuant o 42 U.S.C.§ 406(b), docket no.
16
     18, is GRANTED as follows.
17
            Pursuant to 42 U.S.C. § 406(b), Plaintiff’s attorney is awarded $4,108.36, which
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     represents the requested fee award of $6,887.54, which the Court concludes is reasonable,
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     reduced by the amount of fees ($2,779.18 1) previously awarded under the Equal Access to
20
     Justice Act, see Order, docket no. 17. The attorney-fee award of $4,108.36 shall be made from
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     the past-due benefits to which Plaintiff is entitled. If the Social Security Administration is still
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     1
      The Court corrects a scrivener’s error listing the incorrect amount of total fees previously
25   awarded under the Equal Access to Justice Act. Compare docket no. 18 at 1 (motion stating that
     amount previously received under the Equal Access to Justice Act was $2,279.18) with docket
     ORDER FOR ATTORNEY FEES PURSUANT TO 42                          Douglas Drachler McKee & Gilbrough, LLP
     U.S.C. § 406(b) [3:17-cv-05964-TSZ] - 1                         1904 Third Ave. Suite 1030
                                                                      Seattle, WA 98103
                                                                      (206) 623-0900
               Case 3:17-cv-05964-TSZ Document 20 Filed 08/28/20 Page 2 of 2




1    withholding this amount, it is DIRECTED to send $4,108.36 to Plaintiff’s attorney, Amy

2    Gilbrough (1904 Third Ave. Suite 1030, Seattle, WA 98103), minus any applicable fees allowed
3    by statute. If the Social Security Administration is no longer withholding any amount of the
4
     back award for fees, Plaintiff will send her attorney a fee of $4,108.36.
5
            DATED this 28th day of August, 2020.
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                                                           A
                                                           Thomas S. Zilly
9                                                          United States District Judge

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11   Presented by:
12

13   S/AMY GILBROUGH
     AMY GILBROUGH, WSBA #26471
14   Attorney for Plaintiff

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25   no. 18-5 at 1 (itemizing $2,779.18 in total fees) and docket no. 17 (Court’s Order granting
     $2,779.18 in fees under the Act).
     ORDER FOR ATTORNEY FEES PURSUANT TO 42                         Douglas Drachler McKee & Gilbrough, LLP
     U.S.C. § 406(b) [3:17-cv-05964-TSZ] - 2                        1904 Third Ave. Suite 1030
                                                                     Seattle, WA 98103
                                                                     (206) 623-0900
